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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


JAMISON REMIED, individually,
and as Representative of a Class of
Participants and Beneficiaries of the
NorthShore University HealthSystem
Tax Deferred Annuity Plan,

               Plaintiff,                                   Case No. 1:22-cv-02578

               v.                                           Hon. Steven C. Seeger

NORTHSHORE UNIVERSITY
HEALTHSYSTEM, et al.

               Defendants


                PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL
                         OF CLASS ACTION SETTLEMENT



TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

       Plaintiff Jamison Remied, respectfully move the Court to: (1) preliminarily approve the

Parties’ Class Action Settlement Agreement and Release of Claims in the above-referenced matter,

attached to the Declaration of Paul M. Secunda as Exhibit 1; (2) approve the proposed Notices

and authorize distribution of the Notices to the Settlement Class, attached to the Settlement

Agreement as Exhibits A and A-1; (3) preliminarily certify the Settlement Class for settlement

purposes; (4) approve the Plan of Allocation, attached to the Settlement Agreement as Exhibit B;

(5) schedule a Final Approval Hearing; and (6) enter the accompanying Preliminary Approval

Order, attached to the Settlement Agreement as Exhibit C.

       This motion is made pursuant to Federal Rule of Civil Procedure 23(e) and is based on the

accompanying Memorandum of Law and authorities cited therein, the Declaration of Paul M.
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Secunda and exhibits attached thereto (including the Settlement Agreement and Exhibits), the

Declaration of Jamison Remied, and all files, records, and proceedings in this matter. Defendants

join in the relief requested by Plaintiff’s Motion for Preliminary Approval of Class Action

Settlement.

       Dated this 7th day of February, 2025         WALCHESKE & LUZI, LLC

                                                    /s/ Paul M. Secunda____________________
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                                                    125 S. Wacker Dr., Suite 300
                                                    Chicago, IL 60606
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                                                    ATTORNEYS FOR PLAINTIFF and
                                                    PROPOSED SETTLEMENT CLASS
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 7, 2025, I caused a copy of the foregoing to be

electronically filed with the Clerk of the Court by using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.


                                                          s/Paul M. Secunda
                                                          Paul M. Secunda
